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  Endorsed Order:

         1. Motion for order shortening time denied. This matter is too important to be
  heard without giving the stakeholders in this case, whose money is on the line, the normal
  opportunity to respond.

          2. If the US Trustee is willing to waive the opportunity to reply, the motion will
  be heard at a hearing on June 13, 2012, at 8:00 a.m., in which event answering papers
  must be filed, pursuant to S.D.N.Y. LBR 9006-1(b), 7 days before that date, no later than
  5:00 p.m. on June 6, 2012. If, on the other hand, the US Trustee wishes to reply, the
  motion will be heard at a hearing on June 18, 2012, at 9:45 a.m., in which event
  answering papers must be filed no later than noon on June 11, 2012, and reply papers
  must be filed no later than 5:00 p.m. on June 13, 2012. In either event, the hearing on the
  chosen day, consistent with LBR 9014-2 and Paragraphs 3 and 4 of this Court’s Case
  Management Order #1, dated May 21, 2012, will be non-evidentiary. On that day, each
  side should be prepared to address the extent, if any, to which material issues of fact exist
  which would require a subsequent evidentiary hearing. No later than 4:00 p.m. on
  Friday, June 1, the US Trustee is to inform this Court’s Chambers of the date selected as
  the hearing date, and notify counsel for the creditors and the Debtors of the selected
  hearing date and resulting deadlines.

         3. The US Trustee is reminded of the requirements of Case Management Order
  #1 (and, in particular, its Paragraph 26).1 Going forward, the Court expects, from the US
  Trustee and other parties alike, compliance with its case management orders, particularly
  on matters that involve fairness to other parties.

  Dated: New York, New York                            s/Robert E. Gerber
         May 31, 2012                                 United States Bankruptcy Judge



  1
         For the avoidance of doubt, Paragraph 26 provides (in relevant part):
                  On Motions that reasonably may be expected to engender
                  opposition and as to which the movant will wish the
                  opportunity to reply, the movant should confer with any
                  expected adversaries to agree on a briefing schedule. If
                  efforts to agree are unsuccessful or if circumstances make that
                  impractical, the movant may unilaterally set the schedule, but
                  if it is unreasonable, the opposing party may apply to the
                  Court for modifications in the schedule, and where it appears
                  that the schedule unilaterally set was not a reasonable one,
                  requests for modification will presumptively be granted.
                  Parties are expected to provide for a sufficient time for the
                  Court’s review of reply papers (and in any event no less than
                  two full business days, unless otherwise authorized by the
                  Court), and to advise Chambers as to when reply papers will
                  be forthcoming.
         (Emphasis in italics added; emphasis by underlining in original).

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  TRACY HOPE DAVIS
  United States Trustee for Region 2
  U.S. Department of Justice
  Office of the United States Trustee
  33 Whitehall Street, 21st Floor
  New York, New York 10004
  Tel. (212) 510-0500
  By:     Andrea B. Schwartz, Esq.
          Susan D. Golden, Esq.
          Trial Attorneys

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
                                                                 :
  In re                                                          :   Chapter 11
                                                                 :
  HOUGHTON MIFFLIN HARCOURT                                      :
  PUBLISHING COMPANY, et al.,                                    :   Case No. 12-12171 (REG)
                                                                 :
                                                                 :   (Jointly Administered)
                                      Debtors.                   :
                                                                 :
  ---------------------------------------------------------------x

            MOTION OF UNITED STATES TRUSTEE, PURSUANT TO
     FED. R. BANKR. P. 9006(C) AND LOCAL BANKRUPTCY RULE 9006-1(B),
    FOR ENTRY OF ORDER SHORTENING TIME FOR NOTICE OF HEARING
     TO CONSIDER UNITED STATES TRUSTEE’S MOTION, PURSUANT TO
      28 U.S.C. § 1406(a) AND FED. R. BANKR. P. 1014(a)(2), TO TRANSFER
           THESE CASES TO DISTRICT WHERE VENUE IS PROPER

  TO:     HONORABLE ROBERT E. GERBER,
          UNITED STATES BANKRUPTCY JUDGE:

          Tracy Hope Davis, the United States Trustee for Region 2 (the “United States

  Trustee”), by and through her counsel, respectfully submits this motion (the “Motion to

  Shorten Time”), pursuant to Rule 9006(c) of the Federal Rules of Bankruptcy Procedure

  (the “Bankruptcy Rules”) and Local Rule 9006-1(b) of the U.S. Bankruptcy Court for the

  Southern District of New York (the “Local Bankruptcy Rules”), for the entry of an order,

  substantially in the form annexed hereto as Exhibit A, shortening the time for notice of
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  the hearing to consider the United States Trustee’s motion (the “Venue Motion”),

  pursuant to 28 U.S.C. § 1406(a) and Bankruptcy Rule 1014(a)(2), to transfer the

  captioned cases to a district where venue is proper such that a hearing can be heard at the

  Court’s earliest availability and before June 11, 2012. In support hereof, the United

  States Trustee respectfully states as follows:

               JURISDICTION, VENUE AND STATUTORY PREDICATE

          1.      The Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334.

          2.      For the reasons set forth below and in greater detail in the Venue Motion,

  venue is not proper in this district.

          3.      This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

          4.      This Motion to Shorten Time is initiated pursuant Bankruptcy Rule

  9006(c) and Local Bankruptcy Rule 9006-1(b).

                                             FACTS

  The Chapter 11 Filings

          5.      On May 21, 2012 (the “Petition Date”), Houghton Mifflin Harcourt

  Publishing Company, a Massachusetts corporation and one of Boston’s largest

  employers, together with 24 of its affiliated companies (collectively, the “Debtors”) filed

  voluntary petitions for relief in this district under Chapter 11 of title 11, United States

  Code (the “Bankruptcy Code”). (ECF No. 1). By Order dated May 21, 2012, the cases

  are being administered jointly. (ECF No. 26).

          6.      On May 21, 2012, the United States Trustee solicited creditors willing to

  serve on an Official Committee of Unsecured Creditors (the “Creditors’ Committee”).




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  As of the date hereof, the United States Trustee has not appointed a Creditors’ Committee

  in these cases. No trustee or examiner has been appointed in these cases.

  Prepackaged Cases

          7.      The Debtors’ bankruptcy cases are part of a “prepackaged” plan (the

  “Plan”) pursuant to which the Debtors seek to exchange their debt for equity in a

  reorganized company on an expedited basis. (ECF No. 15). Prior to the Petition Date,

  the Debtors solicited votes on the Plan, and at the hearing (the “`First Day’ Hearing”)

  held on May 21, 2012, the Court granted the Debtors’ request to schedule a combined

  hearing to consider both the adequacy of the disclosure statement and confirmation of the

  Plan on June 21, 2012, at 9:45 a.m. (ECF No. 33).

          8.      In addition, at the First Day Hearing, the Court granted substantial relief to

  the Debtors on an interim basis, including the ability of the Debtors to obtain debtor in

  possession (“DIP”) financing, use existing bank accounts, pay general unsecured

  creditors in the ordinary course of business, pay taxes and insurance and to pay wages,

  and has scheduled a hearing to consider granting final relief on most of these motions for

  June 11, 2012, at 9:45 a.m. (ECF Nos. 27, 32, 34 and 37). The Court will consider

  granting final relief on the Debtors’ DIP and exit financing motion at the June 21, 2012

  hearing. (ECF No. 35).

                                    RELIEF REQUESTED

          9.      By the Motion to Shorten Time, the United States Trustee requests entry

  of an order (i) shortening the notice period on the Venue Motion so that the Court may

  hold a hearing at its earliest availability and prior to June 11, 2012, and (ii) fixing the




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  objection deadline for the Venue Motion for three business days prior to the hearing date

  and the deadline for any replies for two days prior to the hearing date.

         10.     Local Bankruptcy Rule 9006-1(b) provides that, “unless the Court orders

  otherwise,” all motion papers (other than those concerning discovery-related issues), all

  motion papers must be served at least 14 days before the return date. LBR 9006-1(b).

  LBR 9006-1(b). The local rule further provides that “[w]here such service is made, any

  answering papers shall be served so as to ensure actual receipt not later than seven days

  before the return date.” Id.

         11.     Bankruptcy Rule 9006(c) provides that “[w]hen an act is required or

  allowed to be done at or within a specified time by these rules or … by order of the court,

  the court for cause shown may in its discretion with or without motion or notice order the

  period reduced.” Fed. R. Bankr. P. 9006(c).

         12.     Cause exists pursuant to Bankruptcy Rule 9006(c) and Local Bankruptcy

  Rule 9006-1(b) to shorten the notice period for the Venue Motion because the Court

  hearings are already scheduled to take place in these prepackaged cases where substantial

  relief may be granted, including, confirmation of the Plan. To proceed on the expedited

  prepackaged case schedule, without first determining whether venue is proper in this

  district under the statutory predicates of Section 1408 of Title 28, would permit these

  Debtors (and others) to circumvent the venue statute and forum shop simply by taking

  advantage of a court’s prepackaged bankruptcy case procedures. By the time the Venue

  Motion would be heard if the Court were to decline the relief sought, that is, no sooner

  than June 13, 2012, the Court may well have granted the Debtors final relief on a host of

  motions, and the cases would be one week away from confirmation. Thus, irrespective of



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  whether venue is proper, the Debtors will have obtained relief that they may otherwise

  not have if their cases were heard in a district where venue is proper, for example, the

  District of Massachusetts, where the Debtors’ principal place of business is located.

         13.     In addition, no prejudice will be visited upon the Debtors if the Court were

  to grant the Motion to Shorten Time because the United States Trustee’s concerns over

  venue of these cases was made at and before the First Day Hearing. It can come as no

  surprise to the Debtors that serious questions have been raised as to whether venue of

  these cases may be laid properly in this district.

         14.     The Court should not allow these cases to proceed as quickly as they are

  scheduled without first pausing to determine whether venue is proper. For the reasons set

  forth in greater detail in the Venue Motion, it does not appear that venue is proper in this

  district. Accordingly, the United States Trustee requests that the Court schedule a

  hearing on the Venue Motion as soon as possible and determine this gating issue before

  considering whether to grant any further relief to the Debtors in these cases.

         WHEREFORE, the United States Trustee respectfully requests that the Court

  enter an order (i) shortening the time for notice of the Venue Motion in a form




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  substantially as that annexed hereto as Exhibit A, and (ii) granting such further relief as is

  just.

  Dated: New York, New York
         May 30, 2012
                                                 Respectfully submitted,

                                                 TRACY HOPE DAVIS
                                                 UNITED STATES TRUSTEE

                                                 By: /s/ Andrea B. Schwartz
                                                         Andrea B. Schwartz
                                                         Susan D. Golden
                                                         Trial Attorneys
                                                         33 Whitehall Street, 21st Floor
                                                         New York, New York 10004
                                                         Tel. No. (212) 510-0500
                                                         Fax No. (212) 668-2255




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                               EXHIBIT A
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
  In re                                                          :   Chapter 11
                                                                 :
  HOUGHTON MIFFLIN HARCOURT                                      :
  PUBLISHING COMPANY, et al.,                                    :   Case No. 12-12171 (REG)
                                                                 :
                                                                 :   (Jointly Administered)
                                      Debtors.                   :
                                                                 :
  ---------------------------------------------------------------x

            ORDER SHORTENING TIME FOR NOTICE OF HEARING
        TO CONSIDER UNITED STATES TRUSTEE’S MOTION, PURSUANT
           TO 28 U.S.C. § 1406(a) AND FED. R. BANKR. P. 1014(a)(2), TO
          TRANSFER CASES TO DISTRICT WHERE VENUE IS PROPER

          Upon the motion (the “Motion to Shorten Time”) of Tracy Hope Davis, the

  United States Trustee for Region 2 (the “United States Trustee”), for entry of an order

  shortening the time for notice of the hearing to consider the United States Trustee’s

  Motion, Pursuant to 28 U.S.C. § 1406(a) and Fed. R. Bankr. P. 1014(a)(2), to Transfer

  Cases to District Where Venue Is Proper (the “Venue Motion”); and this Court having

  found that it has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court

  having found that the Motion to Shorten Time is a core proceeding pursuant to 28 U.S.C.

  § 157(b)(2); and this Court having reviewed the Motion to Shorten Time; and this Court

  having found that the relief requested in the Motion to Shorten Time is in the best

  interests of the Debtors’ estates, their creditors, and other parties in interest; and the Court

  having found that the Motion to Shorten Time appears adequate and appropriate under

  the circumstances; and this Court having determined that the legal and factual bases set

  forth in the Motion to Shorten Time establish just cause for the relief granted herein; and

  after due deliberation and sufficient cause appearing, it is hereby
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         ORDERED, ADJUDGED AND DECREED THAT:

         1.      The Motion is granted to the extent set forth herein.

         2.      A hearing to consider the Venue Motion shall be held on __________ at

  _____ (prevailing Eastern Time).

         3.      Objections or responses, if any, to the Venue Motion must (a) be in

  writing, (b) conform to the Federal Rules of Bankruptcy Procedure and the Local

  Bankruptcy Rules of the Southern District of New York, (c) be filed with the Bankruptcy

  Court in accordance with General Order M-242 (as amended) – registered users of the

  Bankruptcy Court’s case filing system must file electronically, and all other parties in

  interest must file on a 3.5 inch disk (preferably in Portable Document Format, or PDF,

  WordPerfect, or any other Windows-based word processing format), (d) be submitted in

  hard copy form directly to the chambers of the Honorable Robert E. Gerber, and (e) be

  served upon the United States Trustee, U.S. Department of Justice, Office of the United

  States Trustee, 33 Whitehall Street, 21st Floor, New York, NY 10004 (Attn.: Andrea B.

  Schwartz, Esq.) so that they are received no later than ______________ (5:00 p.m.).

  Such papers shall conform to the Federal Rules of Civil Procedure and identify the party

  on whose behalf the papers are submitted, the nature of the response, and the basis for the

  response.

         4.      Replies, if any, must adhere to the same requirements set forth in the

  preceding paragraph and served upon the Debtors’ Counsel Paul, Weiss, Rifkind,

  Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, NY 10019 (Attn.:

  Jeffrey D. Saferstein, Esq.) so that they are received no later than ______________

  (5:00 p.m.).



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         5.     Service of a copy of this Order and the Venue Motion by email upon the

  Debtors’ counsel on or before May 31, 2012, shall be deemed good and sufficient service

  of the Venue Motion and the relief sought therein.

  Dated: New York, New York
         May _____, 2012

                                              _________________________________
                                              Honorable Robert E. Gerber
                                              United States Bankruptcy Judge




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